                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


 LISA JONES, et al.,                                    Case No. 19-0102-CV-W-BP

                        Plaintiffs,                     Hon. Beth Phillips

        v.

 MONSANTO COMPANY,

                        Defendant.


  DECLARATION OF KIM E. RICHMAN IN SUPPORT OF PLAINTIFFS’ MOTION
      FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

        I, Kim E. Richman, hereby declare:
        1.      I am the founding and managing Member of Richman Law Group, and one of the
attorneys designated as Class Counsel in this action. All the facts stated herein are based on my
personal knowledge and, if called as a witness, I could and would testify competently to the matters
set forth herein.
        2.      Lisa Jones, Horacio Torres Bonilla, and Kristoffer Yee (collectively, “Plaintiffs”)
and Monsanto Company (“Monsanto”) have reached agreement on the terms of a settlement to
resolve this case, which are contained in the Proposed Class Action Settlement Agreement attached
hereto as Exhibit 1. I respectfully submit this Declaration in support of Plaintiffs’ Motion for
Preliminary Approval of Class Action Settlement (the “Settlement”).
        3.      Plaintiffs filed this action against Monsanto, on behalf of a putative nationwide
class and Missouri, New York, and California sub-classes, on February 13, 2019. In the action,
Plaintiffs allege that Monsanto advertised its Roundup® Weed & Grass Killer products (“Roundup
Products”) with a misleading label representation, namely, that Roundup Products’ active
ingredient, glyphosate, targets an enzyme found in plants but not in people or pets (the “Challenged
Statement”).

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        4.         Shortly after the Court denied Monsanto’s motion to dismiss this action on June 24,

2019, the parties notified the Court that, pursuant to the Court’s mandatory Mediation and
Assessment Program, they had jointly designated Professor Eric D. Green of Resolutions, LLC,
an experienced mediator, to conduct private mediation.
        5.         Over the summer of 2019, Plaintiffs and Monsanto separately assembled lengthy
mediation statements and exhibits, including reference to the evidence developed through
discovery in Blitz v. Monsanto Co., No. 3:17-cv-00473 (W.D. Wis. June 20, 2017), which the
parties had agreed would apply to this action.
        6.         In the Blitz action, Monsanto produced tens of thousands of documents, which
Class Counsel reviewed in full. Monsanto took the deposition of Plaintiff Blitz’s expert on class-
wide damages, University of Chicago Booth School of Business Professor Jean-Pierre Dubé; Class
Counsel took the deposition of Monsanto’s rebuttal damages expert Dr. Peter Rossi and of
Monsanto’s survey expert Sarah Butler; and Class Counsel defended Monsanto’s deposition of
Plaintiff Blitz.
        7.         Plaintiffs, in order to guide negotiations during mediation, commissioned a
marketing survey designed to assess respondents’ views of falsity, which also asked respondents
to estimate how much less, if any, they would expect to pay for the products if told that the
statement at issue was false. This marketing survey was not intended to replicate the detailed
methodology proposed for the assessment of class damages by Professor Dubé in Blitz, but to
provide a measure and range of potential recovery in order to inform Plaintiffs in their negotiations.

This survey, conducted by Dr. Thomas Maronick, DBA, JD, resulted in an estimated range of 7.9%
to 15.9% value on the statement at issue.
        8.         Based on this survey, Class Counsel believes the best-case damages after a victory
at trial in this action would fall between 7.9% and 15.9% of the purchase price of the Roundup
Products.
        9.         Class Counsel also believes that the considerable additional expenditure of
resources that would be necessary to continue litigating this matter—which could require

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thousands more hours of attorney time through discovery (including expert discovery), class

certification briefing, summary judgment briefing, pre-trial preparation, trial, and potential
appeals—strongly weigh in favor of approval of the Settlement.
       10.     Each side provided its mediation materials to Professor Green, and also sent an
abridged mediation packet to the other side, protected by Federal Rule of Evidence 408, setting
forth its view of most important facts and evidence, theory of the claims and case going forward,
and asserted range of damages and calculations therefor.
       11.     An all-day mediation between the Parties took place August 14, 2019, in New York.
       12.     Following multiple rounds of shuttle diplomacy, as well as face-to-face
negotiations among counsel, which closed a significant gap in settlement-value expectations, the
parties agreed to a settlement in principle.
       13.     Since the mediation, the parties have further refined that agreement in principle to
arrive at the proposed settlement as presented to the Court for approval.
       14.     On November 14, 2019, Plaintiffs served requests for production upon Monsanto,
seeking documents confirming state-by-state sales of the Roundup Products and demographic
information on putative class members. Monsanto produced responsive documents on December
20, 2019 and February 10, 2020.
       15.     According to these documents, the Settlement covers approximately 88,925,680
units, representing about $1.49 billion in retail sales, of the Roundup Products.
       16.     The Parties now submit the Settlement to this Court for preliminary approval.

       17.     Class representatives Lisa Jones, Horacio Torres Bonilla, and Kristoffer Yee
purchased the Roundup Products and saw the labeling statement at issue in this case.
       18.     Lisa Jones, Horacio Torres Bonilla, and Kristoffer Yee are aware of their
obligations as class representatives; they have been prosecuting, and will continue to prosecute,
the action vigorously on behalf of the Class.
       19.     I have been litigating class actions on behalf of consumers for over a decade. My
litigation experience ranges from cases involving corporate fraud and insider trading to those

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protecting individuals’ constitutional and consumer rights. I have been appointed by various courts

to represent consumers in numerous actions.
       20.     Following is a partial list of cases that I have previously litigated or am currently
litigating on behalf of consumers:

          i.     Salamanca v. General Mills, Inc., No. 3:16-cv-04871 (N.D. Cal.); Nuez v.
                 General Mills, Inc., No. 1:16-cv-04731 (E.D.N.Y.); Woloszyn v. General Mills,
                 Inc., No. 0:16-cv-02869 (D. Minn.) (class actions alleging deceptive and false
                 labeling of oat products);
         ii.     Stevenson v. Post Consumer Brands, LLC and Post Holdings, Inc., No. 1:16-cv-
                 03396 (E.D.N.Y); Wu v. Post Consumer Brands, LLC, and Post Holdings, Inc.,
                 No. 3:16-cv-03494 (N.D. Cal) (class-actions alleging deceptive and false
                 labeling of wheat cereal products);
        iii.     Gibson v. The Quaker Oats Company, No. 16-cv-04853 (E.D. Ill.) (class action
                 alleging deceptive and false labeling of oat products);
        iv.      Gonzalez v. Costco Wholesale Corp., No. 1:16-cv-02590 (E.D.N.Y.) (class
                 action alleging deceptive labeling in connection with laundry detergent and dish
                 soap products);

         v.      Normand v. Nestle Purina Petcare Co., No. 6:15-cv-06141 (W.D.N.Y.) (class
                 action alleging that branded dog food is linked to the poisoning and death of
                 thousands of dogs around the country);
        vi.      Hidalgo v. Johnson & Johnson Consumer Cos., No. 1:15-cv-05199 (S.D.N.Y)
                 (class action alleging deceptive labeling of baby care products);
        vii.     Segedie v. The Hain Celestial Group, Inc., No. 7:14-cv-05029 (S.D.N.Y.) (class
                 action alleging that infant formula is falsely labeled “organic” because it
                 contains ingredients that are not allowed in “organic” products under federal
                 law);
       viii.     Paulino v. Conopco, Inc., No. 1:14-cv-05145 (E.D.N.Y.) (class action alleging
                 that “Suave Naturals” products, which use imagery of “natural ingredients” to
                 convey a supposed benefit of the product, contain harmful and synthetic
                 chemicals in violation of New York and California consumer protection laws);
        ix.      Brenner v. Williams-Sonoma, Inc., No. 1:13-cv-10931 (D. Mass.) (class action
                 alleging that defendant gathered customers’ ZIP codes during credit card
                 transactions, which it used to build databases for advertising and campaigns in
                 violation of the Massachusetts Unfair Trade Act);
         x.      Rich v. Lowe’s Home Centers, Inc., No. 3:13-cv-30144 (D. Mass.) (class action
                 alleging violation of Massachusetts Unfair Trade Practices Act and unjust
                 enrichment);
        xi.      Koehler v. Pepperidge Farm, Inc., No. 13-cv-02607 (D. Colo.) (class action

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         alleging that snack food labeled “natural” contains genetically modified
         organisms);

  xii.   Barron v. Snyder’s-Lance, Inc., No. 0:13-cv-62496 (S.D. Fla.) (class action
         alleging that snack food products labeled “natural” contain genetically modified
         organisms and synthetic ingredients);

 xiii.   In re: Simply Orange Orange Juice Marketing & Sales Practices Litigation, No.
         4:12-md-02361 (W.D. Mo.) (class action alleging that orange juice labeled as
         “100% pure” and “natural” contains synthetic flavoring and is subject to a high
         degree of processing);
 xiv.    In re: Frito Lay North America, Inc. “All Natural” Litigation, No. 1:12-MD-
         02413 (E.D.N.Y.) (class action alleging that snack food products labeled as
         “natural” contain genetically modified organisms);
  xv.    Koh v. SC Johnson & Son, Inc., No. 5:09-cv-00927 (N.D. Cal.) (class action
         that introduced the concept of “greenwashing” in violation of California
         adverting laws);
 xvi.    L’Ottavo Ristorante v. Ingomar Packing Co., No. 09-CV-01427 (E.D. Cal.)
         (class action alleging violation of the Sherman Act);
xvii.    Hill v. Roll International Corp., No. CGC-09-487547 (San Francisco County
         Superior Court) (class action alleging violation of California consumer
         protection laws);
xviii.   Serrano v. Cablevision Systems Corp., No. 09-CV-1056 (E.D.N.Y.) (class
         action alleging violation of CFAA and of New York consumer protection law);
 xix.    Petlack v. S.C. Johnson & Son, Inc., No. 08-CV-00820 (E.D. Wisconsin) (class
         action alleging violation of Wisconsin consumer protection law);
  xx.    S.K. v. General Nutrition Corp., No. 08-CV-9263 (S.D.N.Y.) (class action
         alleging violation of New York consumer protection laws);
 xxi.    Fink v. Time Warner Cable, No. 08-CV-9628 (S.D.N.Y.) (class action alleging
         violation of New York consumer protection laws);
xxii.    All-Star Carts & Vehicles Inc. v. BFI Canada Income Fund, No. 08-CV-1816
         (E.D.N.Y.) (class action alleging violation of the Sherman Antitrust Act);

xxiii.   Tan v. Comcast Corp., No. 08-CV-02735 (E.D. Pa.) (class action alleging
         violation of the federal Computer Fraud and Abuse Act (CFAA));
xxiv.    Bodoin v. Impeccable L.L.C., No. 601801/08 (N.Y. Sup. Ct.) (individual action
         alleging conspiracy and fraud);
xxv.     Gaines v. Home Loan Center, Inc., No. 08-CV-667 DOC (C.D. Cal) (class
         action alleging violation of the Racketeer Influenced and Corrupt Organizations
         Act);
xxvi.    Chin v. RCN Corp., No. 08-CV-7349 RJS (S.D.N.Y.) (class action alleging

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                 violation of Virginia consumer protection law).

       21.     I have also engaged in extensive consumer protection litigation concerning

glyphosate, the subject of the Challenged Statement. Following is a partial list of cases that I have
previously litigated or am currently litigating on behalf of consumers, whether directly or on behalf
of consumer watchdog organizations:

          i.   Tran v. Sioux Honey Ass’n, Coop., No. 17-cv-110 (N.D. Cal.) (putative class action
               alleging that honey products labeled “pure” and “100% pure” contain glyphosate);

         ii.   Organic Consumers Association v. Twinings North America, Inc., No. 2019 CA
               004412 B (D.C. Super. Ct.) (consumer watchdog action concerning tea products
               labeled “pure” and “natural” despite testing showing residues of glyphosate and
               other synthetic biocides);

        iii.   Beyond Pesticides et al. v. General Mills, Inc., No. 2016 CA 6309 B (D.C. Super.
               Ct.) (consumer watchdog action concerning granola bars marketed as “Made with
               100% Natural Whole Grain Oats” despite glyphosate residues allegedly brought to
               the product through oats);

        iv.    Clean Label Project Foundation, et al. v. Panera, LLC, No. 2019 CA 001898 B
               (D.C. Super. Ct.) (consumer watchdog action concerning restraint selling food
               marketed as “100% clean” despite testing showing presence of glyphosate
               residues);

         v.    GMO Free USA, et al. v. Pret A Manger, No. 2018 CA 6750 B (D.C. Super. Ct.)
               (consumer watchdog action concerning restraint advertising “natural food” where
               testing found traces of glyphosate in several food items); and

        vi.    Toxin Free USA v. The J.M. Smucker Co., No. 2019 CA 003192 B (D.C. Super.
               Ct.) (consumer watchdog action concerning pet food advertised as “natural” despite
               containing glyphosate residues and other trace chemicals harmful to pets).
       22.     Attached hereto as Exhibit 2 is a true and correct copy of the firm’s resume.

       I declare under penalty of perjury under the laws of the United States that the foregoing is true
and correct.

       Executed this 23rd day of March in New York, New York.




                                                      Kim E. Richman

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                 EXHIBIT 1




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                                        Confidential Settlement Agreement in Jones v. Monsanto
                                                                                March 23, 2020
                      CLASS ACTION SETTLEMENT AGREEMENT

         This Settlement Agreement and Release (the “Agreement”), effective upon the date of the
signatories below, is made by and between Monsanto Company and the Class (defined below)
(collectively, the “Parties”), in the matter Lisa Jones et al. v. Monsanto Company, case No. 4:19-
cv-00102-BP (W.D. Mo.) (“the Action”).

       WHEREAS, Class Representatives Lisa Jones, Horacio Torres Bonilla, and Kristoffer Yee
commenced the Action for breach of warranty, unjust enrichment, and violations of Missouri, New
York, and California laws of unfair competition and false advertising against Monsanto and Scotts
Miracle-Gro Products, Inc. in the United States District Court for the Western District of Missouri
on February 13, 2019;

         WHEREAS, the Parties disagree on the merits and viability of the claims set forth in the
Action’s complaint, Monsanto denies any and all liability or wrongdoing, and Plaintiffs believe
that all claims are viable and subject to class certification;

         WHEREAS, the Parties have engaged in discovery but have not yet briefed class
certification;

        WHEREAS, while discovery has continued, the Parties engaged in a mediation session
before Professor Eric D. Green to determine whether a settlement of the Action could be reached,
and at the end of the mediation session, the Parties reached an agreement in principle;

       WHEREAS, Plaintiffs have concluded that it is in the best interest of the Class to settle
the Action on the terms set forth in this Agreement in order to avoid further expense,
inconvenience, and delay, and based on other factors bearing on the merits of settlement;

        WHEREAS, Monsanto enters into this Agreement in order to avoid further expense,
inconvenience, delay, and interference with business operations, and to dispose of the Action and
to put to rest all controversy concerning the claims that have been or could have been asserted;

        WHEREAS, the Class (as defined below) and Monsanto wish to resolve, on a nationwide
basis, any and all past, present, and future claims the Class has or may have against the Released
Persons of any nature whatsoever, as they relate to the allegations in the Action, and to that end,
the Class and Monsanto intend that the United States District Court for the Western District of
Missouri conditionally certify a Class for settlement, and that this Agreement will encompass and
end all related pending, threatened, or possible litigation and/or claims by any Party against the
Released Persons;

   NOW, THEREFORE, the Parties, for good and valuable consideration, the sufficiency of
which is hereby acknowledged, understand and agree to the following terms and conditions:

   A. Definitions

      As used in this Agreement, the following terms enclosed within quotation marks have the
meanings specified below:

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                                       Confidential Settlement Agreement in Jones v. Monsanto
                                                                               March 23, 2020
       1.    “Action” means the matter Lisa Jones et. al v. Monsanto Company, case No. 4:19-
cv-00102-BP (W.D. Mo.).

       2.      “Agreement” means this Settlement Agreement and Release.

       3.      “Approved Claim” means a claim approved by the Claims Administrator,
according to the terms of this Agreement.

       4.      “Authorized Claimant” means any Claimant who has timely and completely
submitted a Claim Form that has been reviewed and validated by the Claims Administrator.

       5.     “Claim” means a request for relief submitted by or on behalf of a Class Member on
a Claim Form filed with the Claims Administrator in accordance with the terms of this Agreement.

       6.      “Claimant” means any Class Member who submits a Claim for benefits as
described in Section J of this Agreement.

        7.      “Claims Deadline” means the date by which all Claim Forms must be postmarked
or received by the Claims Administrator to be considered timely. The Claims Deadline shall end
90 days after the Preliminary Approval Date.

       8.       “Claim Form” means the document to be submitted by Claimants seeking benefits
pursuant to this Agreement.

       9.     “Claims Administrator” means the independent company agreed by the Parties and
approved by the Court to provide the Class Notice and to administer the claims process.

       10.    “Claims Administration Expenses” means the fees charged and expenses incurred
by the Claims Administrator in completing the claims administration process set forth in this
Agreement.

         11.     “Class” or “Class Member(s)” means all Persons in the United States, who, during
the Class Period, purchased in the United States, for personal or household use and not for resale
or distribution, Roundup® Products in packaging with a label that contained the statement “targets
an enzyme found in plants but not in people or pets” or a substantially similar statement. Any
Person who received a full refund is excluded from the Class definition.

       12.     “Class Counsel” means the following attorneys of record in the Action:

       Kim Richman
       Richman Law Group
       8 W. 126th Street
       New York, NY 10027
       Telephone: (718) 705-4579
       Facsimile: (212) 687-8292
       krichman@richmanlawgroup.com



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        Michael L. Baum
        Baum, Hedlund, Aristei & Goldman, P.C.
        12100 Wilshire Blvd., Suite 950
        Los Angeles, CA 90025
        Telephone: (310) 207-3233
        mbaum@baumhedlund.com

and any attorneys at those firms assisting in the representation of the Class in this Action.

      13.     “Class Counsel’s Fees” means the amount awarded as attorneys’ fees to Class
Counsel by the Court for prosecuting the Action and implementing this Agreement.

       14.     “Class Notice” means collectively, the “Notice of Class Action Settlement” and the
“Publication Notice,” substantially in the forms to be agreed upon by the Parties and that will be
submitted to the Court in connection with the Motion for Preliminary Approval of Settlement.

        15.     “Class Period” shall mean and refer to a time period not to exceed the applicable
statute of limitations for false advertising/consumer protection or breach of warranty claims
(whichever is longer) in the state where each Class Member purchased the Products, triggered by
the date the Complaint was filed in the Action (February 13, 2019). A full list of the applicable
periods for each state, district, or territory included in this Agreement is appended hereto as Exhibit
B.

      16.       “Class Released Claims” means the claims released by the Class Members via this
Agreement.

       17.     “Class Representatives” means named plaintiffs in the Action, Lisa Jones, Horacio
Torres Bonilla, and Kristoffer Yee, and any other individuals who may be added as plaintiffs to
any amended pleading.

        18.    “Common Fund” means the 39.55 million dollars ($39,550,000) set aside as part of
the Settlement Consideration.

        19.     “Court” means the United States District Court for the Western District of Missouri.

         20.    “Effective Date” means the date on which the judgment approving this Agreement
becomes final. For purposes of this definition, the Final Settlement Approval Order and Judgment
shall become final at the latest date of the following options: (i) if no appeal from the Final
Settlement Approval Order and Judgment is filed, the date of expiration of the time for filing or
noticing any appeal from the Final Settlement Approval Order and Judgment; or (ii) if an appeal
from the Final Settlement Approval Order and Judgment is filed, and the Final Settlement
Approval Order and Judgment is affirmed or the appeal dismissed, and the deadline to file a
petition for certiorari has passed, the date of such affirmance or dismissal; or (iii) if a petition for
certiorari seeking review of the appellate judgment is filed and denied, the date the petition is
denied; or (iv) if a petition for writ of certiorari is filed and granted, the date of final affirmance or
final dismissal of the review proceeding initiated by the petition for a writ of certiorari.



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                                         Confidential Settlement Agreement in Jones v. Monsanto
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       21.    “Final Settlement Hearing” or “Final Approval Hearing” means the hearing to be
conducted by the Court to determine whether to enter the Final Settlement Approval Order and
Judgment.

       22.     “Jones” means the plaintiff in the Action, Lisa Jones.

         23.    “Final Settlement Approval Order and Judgment” or “Judgment” means the Court’s
final order approving the Agreement; entering judgment; dismissing the Action with prejudice;
discharging the Released Parties of and from all further liability for the Released Claims; and
permanently barring and enjoining the Releasing Persons from instituting, filing, commencing,
prosecuting, maintaining, continuing to prosecute, directly or indirectly, as an individual or
collectively, representatively, derivatively, or on behalf of them, or in any other capacity of any
kind whatsoever, any action in any state court, any federal court, before any regulatory body or
authority, or in any other tribunal, forum, or proceeding of any kind, against the Released Persons
that asserts any Released Claims.

        24.      “Labeling” means the display of written, printed, or graphic matter upon the
Products’ packaging or at the point of sale, as well as written, printed, or graphic matter for use in
the distribution, marketing, manufacturing, or sale of the Products, including information found
on Monsanto’s, Scotts’s, or any other Released Person’s websites supplementing, describing,
explaining, and/or promoting the Products.

        25.     “Monsanto” means Monsanto Company and its current or future parent companies
(including intermediate parents and ultimate parents) and subsidiaries, affiliates, predecessors,
successors, and assigns, and each of their respective officers, directors, employees, agents,
attorneys, insurers, stockholders, representatives, heirs, administrators, executors, successors and
assigns, and any other Person acting on their behalf.

        26.    “Notice Period” means the notice period to potential Class Members. Class Notice
shall run for a period of 60 days, and shall commence within 14 days after the Preliminary
Approval Date.

        27.   “Notice Plan” means the plan for dissemination of the Class Notice to be agreed
upon by the Parties and that will be submitted to the Court in connection with the Motion for
Preliminary Approval of Settlement.

        28.     “Objection Deadline” means the first business day on or after ten (10) calendar days
from the filing of the Motion for Final Approval of the Settlement and Application for Fees, or
such other date as the Court may order in its Preliminary Approval Order. It is the date by which
the Class Members must file with the Court and serve on all Parties (i) a written statement objecting
to any terms of the Settlement or to Class Counsel’s Fees, and (ii) a written notice of intention to
appear if they expect to present in person at the Final Approval Hearing objections to any terms of
the Settlement or to Class Counsel’s Fees.

        29.   “Opt-Out Deadline” means ninety (90) days after the Preliminary Approval Date
(to be concurrent with the Claims Deadline), or such other date as the Court may order in its
Preliminary Approval Order.


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        30.    “Other Counsel” means any other attorney(s), representing any Class Member, who
is not Class Counsel.

       31.     “Party” or “Parties” means Plaintiffs, to include the Class Members, and Monsanto.

        32.     “Person” means any individual, corporation, partnership, association, or any other
type of legal entity.

       33.   “Plaintiffs” means Lisa Jones, Horacio Torres Bonilla, Kristoffer Yee, and the other
Class Members.

        34.     “Preliminary Approval Date” means the date of entry of the Court’s order granting
preliminary approval of the Agreement substantially in the form of the Preliminary Approval Order
that will be submitted in connection with the Motion for Preliminary Approval of Settlement.

       35.     “Products” means Roundup® Weed & Grass Killer products that include the
statement “targets an enzyme found in plants but not in people or pets” or a substantially similar
statement. A full list of Products is appended hereto as Exhibit A.

       36.     “Related Actions” include the following cases:

             a. Thomas Blitz v. Monsanto Company, Case No. 3:17-cv-00473 (W.D. Wis.) (the
                “Blitz Action”);

             b. Beyond Pesticides and Organic Consumers Association v. Monsanto Company,
                Case No. 1:17-cv-00941 (D.D.C.).

The term “Related Actions” is meant only as a shorthand to refer to these cases in the course of
this Agreement and is not intended, and shall not be construed, to limit in any way the scope of
the releases provided by the Agreement or the effect of this Agreement in actions other than the
Related Actions.

        37.    “Released Claims” means all individual, class, representative, group or collective
claims, demands, rights, suits, liabilities, damages, losses, injunctive and/or declaratory relief, and
causes of action released pursuant to this Agreement.

         38.    “Released Persons” mean, respectively, Monsanto; Scotts; any distributors and/or
retailers of the Products; any Persons that are currently, or have in the past been, marketing,
advertising, distributing, selling, or reselling the Products and any current or future parent
companies (including intermediate parents and ultimate parents) and subsidiaries, affiliates,
predecessors, successors, and assigns, and each of their respective officers, directors, employees,
agents, attorneys, insurers, stockholders, representatives, heirs, administrators, executors,
successors and assigns; and any other Person acting on behalf of Monsanto, Scotts, or any other
Released Person.

        39.   “Releasing Persons” means Jones, Torres Bonilla, Yee, and each Class Member
and any Person claiming by or through each Class member, including but not limited to spouses,
children, wards, heirs, devisees, legatees, invitees, employees, associates, co-owners, attorneys,

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                                        Confidential Settlement Agreement in Jones v. Monsanto
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agents, administrators, predecessors, successors, assignees, representatives of any kind,
shareholders, partners, directors, or affiliates.

         40.    “Scotts” means The Scotts Company LLC, Monsanto’s exclusive marketing and
distribution agent for Roundup consumer products, and its current or future parent companies
(including intermediate parents and ultimate parents) and subsidiaries, affiliates, predecessors,
successors, and assigns, and each of their respective officers, directors, employees, agents,
attorneys, insurers, stockholders, representatives, heirs, administrators, executors, successors and
assigns, and any other Person acting on their behalf.

       41.     “Settlement Payment” means the amount to be paid to Authorized Claimants as
described in Section F.

       42.     “Settlement Website” means a website maintained by the Claims Administrator to
provide the Class with information relating to the Settlement.

       43.     “Torres Bonilla” means the plaintiff in the Action, Horacio Torres Bonilla.

       44.     “Yee” means the plaintiff in the Action, Kristoffer Yee.

   B. Conditional Class Certification for Settlement Purposes Only

         1.    This Agreement is for settlement purposes only, and neither the fact of, nor any
provision contained in this Agreement, nor any action taken hereunder, shall constitute, be
construed as, or be admissible in evidence as an admission of (1) the validity of any claim or
allegation by Jones, Torres Bonilla, Yee, the plaintiff(s) in any Related Action, or any Class
Member, or of any defense asserted by Monsanto in these or any other actions or proceedings;
(2) any wrongdoing, fault, violation of law, or liability of any kind on the part of any Party,
Released Party, Class Member or their respective counsel; or (3) the propriety of class certification
in the Action, Related Actions, or any other action or proceeding.

       2.      For the sole and limited purpose of settlement only, the Parties stipulate to and
request that the Court conditionally certify the Class under Rule 23(b)(3), which stipulation is
contingent upon the occurrence of the Effective Date. Should the Effective Date not occur, this
Agreement shall be void and will not constitute, be construed as, or be admissible in evidence as,
an admission of any kind or be used for any purpose in the Action, Related Actions, or in any other
pending or future action. In the event that the Agreement is terminated pursuant to its terms or the
Final Settlement Hearing does not occur for any reason, the certification of the Class shall be
vacated, and the Action shall proceed as it existed prior to execution of this Agreement.

        3.     The Court’s certification of the Class shall not be deemed to be an adjudication of
any fact or issue for any purpose other than the accomplishment of the provisions of this
Agreement, and shall not be considered the law of the case, res judicata, or collateral estoppel in
the Action, Related Actions, or any other proceeding unless and until the Court enters a Judgment.
Regardless of whether the Effective Date occurs, the Parties’ agreement to class certification for
settlement purposes only (and any statements or submissions made by the Parties in connection
with seeking the Court’s approval of this Agreement) shall not be deemed to be a stipulation as to
the propriety of class certification, or any admission of fact or law regarding any request for class

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certification, in any other action or proceeding, whether or not involving the same or similar
claims.

         4.     In the event the Court does not enter a Judgment, or the Effective Date does not
occur, or the Agreement is otherwise terminated or rendered null and void, the Parties’ agreement
to certification of the Class for settlement purposes shall be null and void and the Court’s
certification order (if any is ordered) shall be vacated, and thereafter no new class or classes will
remain certified.

         5.      Nothing in this Agreement shall be argued as support for, or admissible in, an effort
to certify any new class in this Court or any other court if the Court does not enter a Judgment, or
the Effective Date does not occur, nor shall anything herein be admissible in any proceeding to
certify this or any other classes in any other court under any circumstances.

        6.      Subject to the Court’s approval, and for settlement purposes only, Monsanto
consents to the appointment of Jones, Torres Bonilla, and Yee as Class Representatives of the
Class, and the appointment of Kim Richman, Michael L. Baum, and any attorneys at their firms
assisting in the representation of the Class in this Action as Class Counsel.

        7.     The Preliminary Approval Order shall contain a provision enjoining Class
Members who have not opted-out of the Agreement from proceeding with any competing claims
against the Released Persons related or similar to those claims that are asserted in this Action.

       8.     Upon final approval of the Agreement by the Court, a Judgment substantially in the
form agreed by the Parties, and conforming with the definition of Final Settlement Approval Order
and Judgment above, will be entered by the Court.

    C. Benefits of the Agreement

        Class Counsel and Class Representatives believe the Agreement confers substantial
benefits upon the Class, particularly as weighed against the risk associated with the inherent
uncertain nature of a litigated outcome; the complex nature of the Action, and Related Actions, in
which the Parties have produced large amounts of discovery, taken and defended depositions,
served and pursued third-party subpoenas for documents, and disclosed and produced expert
reports, including in the Blitz Action as set forth infra; and the length and expense of continued
proceedings through fact depositions, expert depositions, third-party document productions and
depositions, class certification briefing, summary judgment briefing, trial, and appeals. Based on
their evaluation of such factors, Class Counsel and Class Representatives have determined that the
Settlement, based on the following terms, is in the best interests of the Class.

    D. Changes to the Label

        1.      Monsanto will undertake to remove the representation that glyphosate “targets an
enzyme found in plants but not in people or pets” on the label of the Products, in favor of a
statement to be selected by Monsanto akin to “Glyphosate works by targeting an enzyme that is
essential for plant growth.” The final statement is subject to Monsanto’s exclusive discretion and
approval by the Environmental Protection Agency.


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        2.      After the label change, Monsanto will have a reasonable period of time, consistent
with EPA guidance and requirements, to exhaust existing inventories and remove Products with
the current representation that glyphosate “targets an enzyme found in plants but not in people or
pets” on the label from the marketplace. Any Products sold from Monsanto’s inventory with the
representation that glyphosate “targets an enzyme found in plants but not in people or pets” on the
label, through the date Notice is first effected, are included in the Full Release described in this
Agreement, and any consumer who purchases such products during the inventory removal period
and prior to the date Class Notice is first effected shall be entitled to make a Claim under the
structure set forth herein.

   E. Common Fund

        1.    Within seven (7) calendar days following the Court’s Final Approval Order,
Monsanto shall pay $39.55 million into a “Qualified Settlement Fund” created and maintained by
the Claims Administrator, with a separate tax identification number for purposes of this Agreement
only (the “Common Fund”).

       2.     The Common Fund shall cover all expenses associated with the Agreement as
approved by the Court, including without limitation, Class Notice, Claims Administration
Expenses, Class Member Claims, the Settlement Payment, Class Representative incentive awards,
and Class Counsel’s Fees. Interest on the Settlement Fund shall inure to the benefit of the Class.

        3.    All taxes on the income of the Settlement Fund, and any costs or expenses incurred
in connection with the taxation of the Settlement Fund, shall be paid out of the Settlement Fund,
shall be considered to be a cost of administration, and shall be timely paid by the Claims
Administrator without prior order of the Court. The Parties shall have no liability or responsibility
for the payment of any such taxes.

       4.      In the event that requests for payment per unit (as set forth herein) are made in
excess of the amounts available in the Common Fund after deducting all other expenses, incentive
awards, and attorney’s fees, then the payment per Claimant shall be reduced on a pro rata basis.

        5.      In no case shall Monsanto be required to contribute or pay additional funds to the
Common Fund and/or the Settlement set forth herein, beyond the payments agreed hereto,
including but not limited to any payments for attorneys’ fees or fees associated with notice and/or
administration.

   F. Class Member Claims

         1.     If the Common Fund is sufficient to allow such payments (and subject to the further
limitations and requirements set forth below), considering the number of Claims made, for each
unit of the Products purchased during the Class Period, Authorized Claimants will receive a
standardized payment of 10% the weighted average retail price (after rounding). The weighted
average retail price per unit and the payment per unit are set forth below:




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   Roundup® Product             Weighted Average            Payment Per Unit
                                  Retail Price
 24 oz. Roundup® Ready-                $5.01                       $0.50
  to-Use Weed and Grass
           Killer


 30 oz. Roundup® Ready-                $3.73                       $0.37
  to-Use Weed and Grass
           Killer


0.5 gal. Roundup® Ready-               $5.29                       $0.53
  to-Use Weed and Grass
           Killer


 1 gal. Roundup® Ready-               $10.17                       $1.02
  to-Use Weed and Grass
     Killer (all non-refill
           varieties)

 1 gal. Roundup® Ready-                $5.78                       $0.58
  to-Use Weed and Grass
        Killer Refill


1.1 gal. Roundup® Ready-              $15.96                       $1.60
  to-Use Weed and Grass
           Killer


   1.25 gal. Roundup®                 $12.15                       $1.22
 Ready-to-Use Weed and
    Grass Killer Refill


   1.33 gal. Roundup®                 $18.78                       $1.88
 Ready-to-Use Weed and
       Grass Killer




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 16 oz. Roundup® Weed              $13.24                      $1.32
     and Grass Killer
    Concentrate Plus


 32 oz. Roundup® Weed              $19.54                      $1.95
     and Grass Killer
    Concentrate Plus


35.2 oz. Roundup® Weed             $20.54                      $2.05
     and Grass Killer
     Concentrate Plus


36.8 oz. Roundup® Weed             $18.38                      $1.84
     and Grass Killer
     Concentrate Plus


 40 oz. Roundup® Weed              $18.83                      $1.88
     and Grass Killer
    Concentrate Plus


 64 oz. Roundup® Weed              $38.52                      $3.85
     and Grass Killer
    Concentrate Plus


 80 oz. Roundup® Weed              $46.34                      $4.63
     and Grass Killer
    Concentrate Plus


  3-pack 6 oz. Roundup®            $19.51                      $1.95
  Weed and Grass Killer
     Concentrate Plus




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 32 oz. Roundup® Weed                $22.44                      $2.24
  and Grass Killer Super
       Concentrate


35.2 oz. Roundup® Weed               $43.03                      $4.30
  and Grass Killer Super
       Concentrate


0.42 gal. Roundup® Weed              $46.73                      $4.67
  and Grass Killer Super
       Concentrate


 0.5 gal. Roundup® Weed              $74.15                      $7.42
  and Grass Killer Super
        Concentrate


  1 gal. Roundup® Weed              $106.29                     $10.63
  and Grass Killer Super
         Concentrate


Combination Pack - 1 gal.            $10.36                      $1.04
Roundup® Ready-to-Use
  Weed and Grass Killer
  with 22 oz. Roundup®
Weed & Grass Killer Sure
     Shot Foam Spray
 Combination Pack - 1.33             $39.53                      $3.95
gal. Roundup® Ready-to-
Use Weed and Grass Killer
  Plus with Pump ’N Go
 Sprayer and two 6.5 oz.
  Roundup® Weed and
    Grass Killer Super
       Concentrate
Combination Pack – 1.33              $36.84                      $3.68
gal. Roundup® Ready-to-
Use Weed and Grass Killer
 and two 7 oz. Roundup®
  Weed and Grass Killer
     Concentrate Plus

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        2.     Any Person who received a refund directly from Monsanto and/or Scotts with
respect to purchases of units of Products shall not be eligible for a payment as to those units.

   G. Attorneys’ Fees, Expenses, and Costs

        1.    Class Counsel and Class Representatives shall request attorneys’ fees and costs,
including Class Counsel’s Fees, and incentive awards, to be paid from the Common Fund.
Monsanto will not contest a request for Class Counsel’s Fees that does not exceed 25% of the full
amount available to the class. Monsanto will not oppose reasonable incentive payments for the
Class Representatives.

         2.     The Parties recognize that Class Counsel’s Fees reflect the novel and complex
nature of this matter, as well as the risk assumed by Class Counsel in investing months of labor
into gaining relief for the Class without guarantee of return. The Parties recognize also that
litigation pursued in the Blitz Action contributed significantly to bringing about the mediation in
this matter and this Agreement and is appropriately considered by the Court in assessing the
reasonableness of Class Counsel’s Fees.

        3.      The Claims Administrator shall pay to Class Counsel from the Common Fund the
amount of Class Counsel’s Fees and costs awarded by the Court within seven (7) calendar days
after the Effective Date.

        4.      Costs for settlement, notice, claims administration, incentive awards, and any other
fees, including attorneys’ fees, will be paid from the Common Fund.

   H. Retention of Claims Administrator

       The Parties agree to retain Postlethwaite & Netterville as Claims Administrator to effect
Class Notice and administration.         The Claims Administrator shall assist with various
administrative tasks, including, without limitation:

           a. Arranging for the dissemination of the Class Notice pursuant to the Notice Plan
              agreed to by the Parties and approved by the Court;
           b. Answering written inquiries from Class Members and/or forwarding such inquires
              to Class Counsel;
           c. Receiving and maintaining forms of Class Members who wish to opt out of and be
              excluded from the Agreement;
           d. Establishing a Settlement Website;
           e. Establishing and staffing a toll-free informational telephone number for Class
              Members;
           f. Receiving and processing Claims and distributing payments to Authorized
              Claimants; and
           g. Otherwise assisting with administration of the Agreement.

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   I. Timing

        All Claim Forms must be postmarked or received by the Claims Administrator by the
Claims Deadline to be considered timely. The Claims Deadline shall be clearly set forth in the
Preliminary Approval Order, the Class Notice, on the Settlement Website, and on the front of the
Claim Form.

   J. Procedure

       1.      Class Notice will include print and nationwide digital publication.

      2.       All Claims must be submitted with a Claim Form and received by the Claims
Administrator.

        3.      The Claim Form will be available on the Settlement Website. The Claim Form will
be available to fill out and submit online, for download, or will be mailed to Class Members upon
request by calling or writing to the Claims Administrator. Class Members may submit their
completed and signed Claim Forms to the Claims Administrator by mail or online, postmarked or
submitted online, on or before the Claims Deadline.

       4.      The Claim Form must include a reasonable proof of purchase, or must include a
declaration, under penalty of perjury, of the identity and quantity of the type of Products that were
purchased. All Claim Forms must include:

            a.Class Member name, address, and telephone number;
            b.Identification of the quantity and type of Product(s) that were purchased;
            c.The retailer and location (city and state) of the retailer from which the Products were
              purchased; and
            d.The approximate date(s) or date ranges on or during which the Products were
              purchased.
       5.      The Claims Administrator shall retain sole discretion in accepting or rejecting the
Claim Form.

        6.     Claims that are based only upon a declaration signed under penalty of perjury (i.e.,
do not include reasonable proof of purchase) shall be limited to a Maximum Allowance of one (1)
Product for each year of the Class Period (the number of years for each Class Member being
determined by that state of that Class Member’s purchases as set forth in the definition of Class
Period above) with the exception of Claims for 1 Gal. Roundup® Weed and Grass Killer Super
Concentrate. For 1 Gal. Roundup® Weed and Grass Killer Super Concentrate, Claims that are
based only upon a declaration signed under penalty of perjury shall be limited to a Maximum
Allowance of one (1) for every two (2) years of the Class Period. For example, if the applicable
Class Period for a Class Member is five (5) years, that Class Member may make a Claim based
upon a declaration for any one of the following combinations of products:



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              i.   up to five (5) Products other than 1 Gal. Roundup® Weed and Grass Killer
                   Super Concentrate;

             ii.   up to three (3) 1 Gal. Roundup® Weed and Grass Killer Super Concentrates;

            iii.   up to two (2) 1 Gal. Roundup® Weed and Grass Killer Super Concentrates and
                   one (1) Product other than a 1 Gal. Roundup® Weed and Grass Killer Super
                   Concentrate; or

            iv.    one (1) 1 Gal. Roundup® Weed and Grass Killer Super Concentrate and up to
                   three (3) Products other than 1 Gal. Roundup® Ready-to-Use Weed and Grass
                   Killer Super Concentrate).

       7.       Claims based on a reasonable proof of purchase are not subject to the Maximum
Allowance, but for such Claims, the Claims Administrator may at its discretion require a
declaration signed under penalty of perjury that provides additional information, including that the
purchases were for personal use at a specific location.

       8.      The Claims Administrator shall pay out Approved Claims in accordance with the
terms of this Agreement commencing ten (10) days after the Effective Date or as otherwise ordered
by the Court.

        9.      Class Members who do not submit a Claim or opt out (i.e., do nothing) will be
subject to this Agreement and all of its terms, including but not limited to the releases, and will
receive no payment from the Common Fund.

   K. Opt-Out Procedure

       1.      Class Members who wish to opt out of and be excluded from the Agreement must
download from the Settlement Website an Opt-Out Form, to be created by the Claims
Administrator, and Class Members must print, complete, and mail the form to the Claims
Administrator, at the mailing address stated on the Opt-Out Form, postmarked no later than ten
(10) days after the filing of the Motion for Final Approval of the Settlement and the Application
For Fees or as otherwise ordered by the Court in its Preliminary Approval Order (the “Opt-Out
Deadline”).

     2.      The Opt-Out Form must be personally completed and submitted by the Class
Member, and multiple-Class-Member “mass” or “class” opt-outs shall not be permitted.

        3.      The Claims Administrator shall be responsible for processing opt-outs and
objections, if any, including to promptly provide Class Counsel and counsel for Monsanto with
copies of same.

   L. Procedures for Objecting to the Settlement

Class Members have the right to appear and show cause why the Agreement should not be granted
final approval, subject to each of the provisions of this paragraph:


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         1.     Written Objection Required. Any objection to the Agreement must be in writing,
filed with the Court, with a copy served on Class Counsel and counsel for Monsanto at the
addresses set forth in the Class Notice and in Miscellaneous Provision ¶ 2 below, by the Objection
Deadline.

          2.     Form of Written Objection. Any objection regarding or related to the Agreement
shall contain (i) a caption or title that clearly identifies the Action and that the document is an
objection, (ii) information sufficient to identify and contact the objecting Class Member or his or
her attorney, and (iii) a clear and concise statement of the Class Member’s objection, as well as
any facts and law supporting the objection (the “Objection”).

          3.    Authorization of Objections Filed by Attorneys Representing Objectors. Class
Members may object either on their own or through an attorney hired at their own expense, but a
Class Member represented by an attorney must sign either the Objection itself or execute a separate
declaration stating that the Class Member authorizes the filing of the Objection.

          4.   Effect of Both Opt-Out and Objection. If a Class Member submits an Opt-Out
Form, the Class Member will be deemed to have opted out of the Agreement, and thus to be
ineligible to object. However, any objecting Class Member who has not timely submitted a
completed Opt-Out Form for exclusion from the Agreement will be bound by the terms of the
Agreement upon the Court’s final approval of the Agreement.

    M. Failure to Exhaust Funds

        After payments have been made to Authorized Claimants, to Class Counsel for Class
Counsel Fees, to Class Representatives for incentive awards, and all other costs associated with
the administration of this settlement have been paid or placed in appropriate escrow, any remaining
funds will be exhausted through a cy pres distribution to a charitable and tax-exempt organization
to be mutually determined by the Parties. In the event that the Parties cannot reach an agreement
on the cy pres organization(s), the Parties will timely present the issue to the Court for resolution.

    N. Release of Monsanto, Scotts, and Related Persons

         Upon the Effective Date, each of the Class Members will be deemed to have, and by
operation of the Judgment will have, fully, finally, and forever released, relinquished, and
discharged the Released Parties from any and all individual, class, representative, group or
collective claims, demands, rights, suits, liabilities, damages, losses, injunctive and/or declaratory
relief, and causes of action of every nature and description whatsoever, including costs, expenses,
penalties, and attorneys’ fees, whether known or unknown, matured or unmatured, asserted or
unasserted, latent or patent, at law or in equity, existing under federal or state law, regardless of
legal theory or relief claimed, that any Class Member has or may in the future have against
Monsanto arising out of or related in any way to:

           a. Labeling, sales, marketing, advertising, or any other communications, regardless of
              medium, of or regarding glyphosate or any of the Products using the statement
              “targets an enzyme found in plants but not in people or pets”;



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       b.      Labeling, sales, marketing, or advertising, or any other communications, regardless
               of medium, of or regarding glyphosate or any of the Products using any variations
               of the statement at issue in the Action, including but not limited to:
                      “. . . stopping the function of an essential enzyme found in plants”
                      “. . . stopping the function of an essential enzyme found in plants, but not in
                       humans or animals”
                      “. . . stopping the production of an essential enzyme found in plants (but not
                       in humans or animals)”
                      “. . . stopping the function of a substance found in plants (but not humans
                       or animals)”

            c. Any allegedly false or misleading statement or omission in or on the Labeling of
               glyphosate or any of the Products regarding the alleged impact of the Products or
               glyphosate on bacteria, or other microorganisms in or around humans and/or
               animals;

which have been, or which could in the past or future have been, asserted in the Action, and in
connection with the conduct of the Action, that have been brought, could in the past or future have
been brought, or are currently pending in any forum in the United States.

   O. Release of Plaintiffs

        Upon the Effective Date, Monsanto will be deemed to have, and by operation of the
Judgment will have, fully, finally, and forever released, relinquished, and discharged Plaintiffs,
the Class, and Class Counsel from any and all claims, demands, rights, suits, liabilities, and causes
of action of every nature and description whatsoever, whether known or unknown, matured or
unmatured, at law or in equity, existing under federal or state law, that Monsanto has or may have
against any of them arising out of or related in any way to the transactions, occurrences, events,
behaviors, conduct, practices, and policies alleged in the Action, and in connection with the filing
and conduct of the Action, that have been brought, could have been brought, or are currently
pending in any forum in the United States.

   P. Section 1542 Waiver

      ALL PARTIES ACKNOWLEDGE SECTION 1542 OF THE CALIFORNIA CIVIL
CODE. YEE AND CALIFORNIA MEMBERS OF THE CLASS EXPRESSLY WAIVE AND
RELINQUISH ANY RIGHTS OR BENEFITS AVAILABLE TO THEM UNDER THIS
STATUTE. CAL. CIV. CODE § 1542 PROVIDES: “A GENERAL RELEASE DOES NOT
EXTEND TO CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF
KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
SETTLEMENT WITH THE DEBTOR.” NOTWITHSTANDING CAL. CIV. CODE § 1542 OR
ANY OTHER FEDERAL OR STATE STATUTE OR RULE OF LAW OF SIMILAR EFFECT,
THIS AGREEMENT SHALL BE GIVEN FULL FORCE AND EFFECT ACCORDING TO
EACH AND ALL OF ITS EXPRESSED TERMS AND PROVISIONS, INCLUDING THOSE
RELATED TO ANY UNKNOWN OR UNSUSPECTED CLAIMS, LIABILITIES, DEMANDS,


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OR CAUSES OF ACTION WHICH ARE BASED ON, ARISE FROM, OR ARE IN ANY WAY
CONNECTED WITH THE ACTION.

    Q. Class Action Fairness Act

        1.      The Class Action Fairness Act of 2005 (“CAFA”) requires Monsanto to inform
certain federal and state officials about this Agreement. See 28 U.S.C. § 1715.

        2.      Under the provisions of CAFA, the Claims Administrator, on behalf of Monsanto,
will serve notice upon the appropriate officials within ten (10) calendar days after the Parties file
the proposed Agreement with the Court. See 28 U.S.C. § 1715(b).

         3.  The Parties agree that either the Claims Administrator or Monsanto is permitted to
provide CAFA notice as required by law and that any such notice shall be done to effectuate the
Agreement and shall not be considered a breach of this Agreement or any other agreement of the
Parties.

        4.      If any of the notified federal or state officials takes any action adversely affecting
the validity or enforceability of the Agreement or seek to impose additional terms or liability on
Monsanto for the matters resolved by the Class Released Claims, Monsanto may, at its option,
suspend the implementation of the Agreement pending the outcome of the action initiated by the
notified federal or state official, or provided that the Court has not yet entered the Final Settlement
Approval Order and Judgment, may elect to void the Agreement by written notice to Class
Counsel.

    R. Court Approval

         1.     Promptly after executing this Agreement, and no later than March 24, 2020, the
Parties will submit to the Court the Agreement, together with its exhibits, and will request that the
Court grant preliminary approval of the proposed Agreement, issue a Preliminary Approval Order,
and schedule a Final Approval Hearing to determine whether the Agreement should be granted
final approval, whether an application for attorneys’ fees and costs should be granted, and whether
an application for incentive awards should be granted. As part of the preliminary approval motion,
the Parties will request the Court to certify the Class provisionally for settlement purposes, and
formally to appoint Class Counsel. The Parties intend and acknowledge that any such certification
and appointment would be for purposes of the Agreement only, and not effective in continuing
litigation between the Parties, if any.

        2.      A Final Settlement Hearing to determine final approval of the Agreement shall be
scheduled as soon as practicable, subject to the calendar of the Court, but no sooner than 90 days
after the Preliminary Approval Date. Upon final approval of the Agreement by the Court at or
after the Final Settlement Hearing, the Parties shall seek and obtain from the Court the Final
Settlement Approval Order and Judgment.

       3.      Objecting Class Members may appear at the Final Approval Hearing and be heard.
The Parties shall have the right, but not the obligation, either jointly or individually, to respond to
any objection.


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        4.       If this Agreement is not given final approval by the Court, the Parties will seek in
good faith to revise the Agreement as needed to obtain Court approval. Failing this, the Parties
will be restored to their respective places in the litigation. In such event, the terms and provisions
of this Agreement will have no further force and effect with respect to the Parties and will not be
used in this or in any other proceeding for any purposes, and any judgment or order entered by the
Court in accordance with the terms of this Agreement will be treated as vacated.

    S. No Public Statements and Media or Public Inquiry Plan

       1.       The Parties will refrain (directly, or through counsel or third parties) from making
any public statements regarding the fact of or the terms of this settlement, absent written agreement
signed by both Parties.

        2.      The Parties and their counsel agree that, in responding to any inquiries from the
public media concerning the Action and/or the Agreement, the Parties and their counsel will limit
their comments to the effect that “the matter has been settled to the satisfaction of all Parties subject
to Court approval” unless a prior written agreement has been signed by both Parties. Nothing in
this paragraph shall limit Class Counsel’s ability to communicate privately with a Class Member
concerning this Action or the Agreement. Monsanto or the Claims Administrator may make such
public disclosures about the Action and Agreement as any applicable laws require.

    T. Miscellaneous Provision

         1.      Entire Agreement. This Agreement shall constitute the entire Agreement among
the Parties with regard to the subject matter of this Agreement and shall supersede any previous
agreements, representations, communications, and understandings among the Parties with respect
to the subject matter of this Agreement. The Parties acknowledge, stipulate, and agree that no
covenant, obligation, condition, representation, warranty, inducement, negotiation, or undertaking
concerning any part or all of the subject matter of the Agreement has been made or relied upon
except as expressly set forth herein. This Agreement supersedes any prior agreement between the
parties, including the Term Sheet executed by the Parties.

        2.     Notices Under This Agreement. All notices or mailings required by this Agreement
to be provided to or approved by Class Counsel and Monsanto, or otherwise made pursuant to this
agreement, shall be provided as follows:

 Class Counsel                                       Monsanto

 Kim Richman                                         John J. Rosenthal
 Richman Law Group                                   Winston & Strawn LLP
 8 W. 126th Street                                   1901 L St. N.W.
 New York, NY 10027                                  Washington, D.C. 20036
 Telephone: (718) 705-4579                           Telephone: (202) 282-5785
 Facsimile: (212) 687-8292                           jrosenthal@winston.com
 krichman@richmanlawgroup.com
                                                     Jeff Wilkerson
 Michael L. Baum                                     Winston & Strawn LLP

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                                        Confidential Settlement Agreement in Jones v. Monsanto
                                                                                March 23, 2020
 Baum, Hedlund, Aristei & Goldman, P.C.            300 S. Tryon St., 16th Floor
 12100 Wilshire Blvd., Suite 950                   Charlotte, NC 28202
 Los Angeles, CA 90025                             Telephone: (704) 350-7714
 Telephone: (310) 207-3233                         jwilkerson@winston.com
 mbaum@baumhedlund.com

        3.     Good Faith. The Parties acknowledge that each intends to implement the
Agreement. The Parties have at all times acted in good faith and shall continue to, in good faith,
cooperate and assist with and undertake all reasonable actions and steps in order to accomplish all
required events on the schedule set by the Court, and shall use reasonable efforts to implement all
terms and conditions of this Agreement.

        4.      Binding on Successors. This Agreement shall be binding upon and inure to the
benefit of the heirs, successors, assigns, executors, and legal representatives of the Parties to the
Agreement and the Released Parties.

        5.       Arms-Length Negotiations. The Agreement compromises claims that are contested,
and the Parties agree that the consideration provided to the Class and other terms of the Agreement
were negotiated in good faith and at arms’ length by the Parties, and reflect an Agreement that was
reached voluntarily, after consultation with competent legal counsel, and guided in part by the
Parties’ earlier private mediation session with Professor Eric D. Green, an experienced mediator.
The determination of the terms of, and the drafting of, this Agreement, has been by mutual
agreement after negotiation, with consideration by and participation of all Parties hereto and their
counsel. Accordingly, the rule of construction that any ambiguities are to be construed against the
drafter shall have no application. All Parties agree that this Agreement was drafted by Class
Counsel and Monsanto’s Counsel at arms’ length, and that no parol or other evidence may be
offered to explain, construe, contradict, or clarify its terms, the intent of the Parties or their
attorneys, or the circumstances under which the Agreement was negotiated, made, or executed.

        6.     Waiver. The waiver by one Party of any provision or breach of this Agreement
shall not be deemed a waiver of any other provision or breach of this Agreement.

         7.  Modification in Writing Only. This Agreement and any and all parts of it may be
amended, modified, changed, or waived only by an express instrument in writing signed by the
Parties.

        8.      Headings. The descriptive headings of any paragraph or sections of this Agreement
are inserted for convenience of reference only and do not constitute a part of this Agreement.

       9.      Governing Law. This Agreement shall be interpreted, construed, and enforced
according to the laws of the State of Missouri, without regard to conflicts of law.

        10.    Continuing Jurisdiction. After entry of the Judgment, the Court shall have
continuing jurisdiction over the Action solely for purposes of (i) enforcing this Agreement, (ii)
addressing settlement administration matters, and (iii) addressing such post-Judgment matters as
may be appropriate under court rules or applicable law, including under the All Writs Act.


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                                       Confidential Settlement Agreement in Jones v. Monsanto
                                                                               March 23, 2020
        11.    Agreement Constitutes a Complete Defense. To the extent permitted by law, this
Agreement may be pleaded as a full and complete defense to, and may be used as the basis for an
injunction against, any action, suit, or other proceeding that may be instituted, prosecuted, or
attempted in breach of or contrary to this Agreement.

        12.    Execution. This Agreement may be executed in one or more counterparts. All
executed counterparts and each of them will be deemed to beType   one text
                                                                       andhere
                                                                           the same instrument.
Photocopies and electronic copies (e.g., PDF copies) shall be given the same force and effect as
original signed documents.


IN WITNESS WHEREOF, each of the undersigned, being duly authorized, have caused this
Agreement to be executed on the dates shown below and agree that it shall take effect on that date
upon which it has been executed by all of the undersigned.

       ON BEHALF OF Lisa Jones, Horacio Torres Bonilla,
       Kristoffer Yee, and the Proposed Settlement Class:


       _____________________________ Date: March ___, 2020

       ON BEHALF OF Monsanto Company:


       _____________________________ Date: March 23, 2020
       John J. Rosenthal




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                                        Confidential Settlement Agreement in Jones v. Monsanto
                                                                               March 23, 2020
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attempted in breach of or contrary to this Agreement.

        12.    Execution. This Agreement may be executed in one or more counterparts. All
executed counterparts and each of them will be deemed to be one and the same instrument.
Photocopies and electronic copies (e.g., PDF copies) shall be given the same force and effect as
original signed documents.


IN WITNESS WHEREOF, each of the undersigned, being duly authorized, have caused this
Agreement to be executed on the dates shown below and agree that it shall take effect on that date
upon which it has been executed by all of the undersigned.

       ON BEHALF OF Lisa Jones, Horacio Torres Bonilla,
       Kristoffer Yee, and the Proposed Settlement Class:


       _____________________________ Date: March 23, 2020
       Kim E. Richman

       ON BEHALF OF Monsanto Company:

       _____________________________ Date: March 23, 2020
       John J. Rosenthal




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                               Confidential Settlement Agreement in Jones v. Monsanto
                                                                       March 23, 2020


                                     EXHIBIT A

Products

Roundup®   Ready-to-Use Weed & Grass Killer III (all sizes, applicators, and varieties)
Roundup®   Ready-to-Use Weed & Grass Killer Plus (all sizes, applicators, and varieties)
Roundup®   Weed & Grass Killer Concentrate Plus (all sizes and varieties)
Roundup®   Weed & Grass Killer Super Concentrate (all sizes and varieties)




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                                Confidential Settlement Agreement in Jones v. Monsanto
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                                        EXHIBIT B

Applicable Statutes of Limitation

                 State                      Citation         Time Period
          Puerto Rico               Marquez v. Campos,      6 months
                                    111 D.P.R. 854
                                    (1982)
          Colorado                  C.R.S. § 13-80-         3 years
                                    101(1)(a)
          Alabama                   Ala. Code § 8–19–       4 years
                                    14
          Alaska                    Alaska Stat.            4 years
                                    § 45.50.531(f)
          Arizona                   Ariz. Rev. Stat. Ann.   4 years
                                    § 12–541(5);
                                    Schellenbach v.
                                    GoDaddy.com LLC,
                                    2017 WL 192920, at
                                    *3 (D. Ariz. Jan. 18,
                                    2017)
          California                Cal. Bus. & Prof.       4 years
                                    Code § 17208;
                                    Yumul v. Smart
                                    Balance, Inc., 733 F.
                                    Supp. 2d 1134, 1140
                                    (C.D. Cal. 2010)
          Connecticut               C.G.S.A. 42-a-2-725     4 years
          Delaware                  6 Del. C. § 2-725       4 years
          District of               D.C. Code § 28:2-       4 years
          Columbia                  725
          Florida                   Fla. Stat. Ann.         4 years
                                    § 95.11(3)(f);
                                    Matthews v. Am.
                                    Honda Motor Co.,
                                    2012 WL 2520675,
                                    at *4 (S.D. Fla. June
                                    6, 2012)
          Georgia                   Ga. Code Ann. § 9-      4 years
                                    3- 31; Kason Indus.,
                                    Inc. v. Component
                                    Hardware Grp.,
                                    Inc., 120 F.3d 1199,
                                    1204 (11th Cir.
                                    1997)
          Hawaii                    HRS § 490:2-725         4 years

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                          Confidential Settlement Agreement in Jones v. Monsanto
                                                                  March 23, 2020
                  State           Citation         Time Period
       Idaho               I.C. § 28-2-725        4 years
       Illinois            810 ILCS 5/2-725       4 years
       Indiana             IC 26-1-2-725          4 years
       Kansas              K.S.A. § 84-2-725      4 years
       Kentucky            K.R.S. § 355.2-725     4 years
       Louisiana           L.S.A.-C.C. Art.       4 years
                           § 2534
       Maryland            Md. Com. Law Code      4 years
                           § 2-725
       Massachusetts       M.G.L.A. 106 § 2-      4 years
                           725
       Montana             MCA § 30-2-725         4 years
       Nebraska            Neb.Rev.St. U.C.C.     4 years
                           § 2-725
       Nevada              Nev. Rev. Stat. Ann.   4 years
                           § 104.2725; Freas v.
                           BMW of N. Am.,
                           LLC, 320 F. Supp.
                           3d 1126, 1135 (S.D.
                           Cal. 2018)
       New Hampshire       N.H. Rev. Stat. Ann.   4 years
                           § 382-A:2-725
       New Mexico          N. M. S. A. 1978,      4 years
                           § 55-2-725
       New York            NY UCC § 2-725(1)      4 years
       North Carolina      N.C.G.S.A. § 25-2-     4 years
                           725
       Ohio                R.C. § 1302.98         4 years
       Oregon              O.R.S. § 72.7250(1)    4 years
       Rhode Island        Kennedy v. Acura,      4 years
                           2002 WL 31331373,
                           at *6 (R.I. Super.
                           Aug. 28, 2002)
       South Dakota        SDCL § 57A-2-725       4 years
       Tennessee           T. C. A. § 47-2-725    4 years
       Texas               Tex. Bus. & Com.       4 years
                           Code Ann. § 2.725
       Virginia            VA Code Ann.           4 years
                           § 8.2-725
       Washington          RCWA 62A.2-725         4 years
       West Virginia       W. Va. Code, § 46-     4 years
                           2-725
       Wyoming             W.S.1977 § 34.1-2-     4 years
                           725

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                        Confidential Settlement Agreement in Jones v. Monsanto
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              State              Citation        Time Period
       Arkansas          Ark. Code Ann. § 4-    5 years
                         88-115
       Missouri          Mo. Ann. Stat.         5 years
                         § 516.120(2);
                         Snelling v. HSBC
                         Card Servs., Inc.,
                         2015 WL 3621091,
                         at *8 (E.D. Mo. June
                         9, 2015)
       Oklahoma          12A Okl. Stat.Ann.     5 years
                         § 2-725
       Utah              Utah Code Ann.         5 years
                         § 13-2-6 (b)
       Maine             Me. Rev. Stat. tit.    6 years
                         14, § 752; State v.
                         Bob Chambers Ford,
                         Inc., 522 A.2d 362,
                         364 (Me. 1987)
       Michigan          Me. Rev. Stat. tit.    6 years
                         14, § 752; State v.
                         Bob Chambers Ford,
                         Inc., 522 A.2d 362,
                         364 (Me. 1987)
       Minnesota         Minn. Stat. Ann.       6 years
                         § 541.05(1);
                         Drobnak v.
                         Andersen Corp.,
                         2008 WL 80632, at
                         *4 (D. Minn. Jan. 8,
                         2008)
       Mississippi       Miss. Code Ann.        6 years
                         § 75-2-725
       New Jersey        N.J. Stat. Ann.        6 years
                         § 2A:14-1; Marchi
                         v. Hudson City Sav.
                         Bank, 2017 WL
                         628476, at *4
                         (D.N.J. Feb. 15,
                         2017)
       North Dakota      N.D. Cent. Code        6 years
                         Ann. § 28-01-16(2);
                         Bostow v. Lundell
                         Mfg. Co., 376
                         N.W.2d 20, 22 (N.D.
                         1985)

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                        Confidential Settlement Agreement in Jones v. Monsanto
                                                                March 23, 2020
              State             Citation            Time Period
       Pennsylvania      42 Pa. Stat. and          6 years
                         Cons. Stat. Ann.
                         § 5527(b); Jacobs v.
                         Halper, 116 F. Supp.
                         3d 469, 480
                         (E.D. Pa. 2015)
       South Carolina    SC ST § 36-2-725          6 years
       Vermont           Vt. Stat. Ann. tit. 12,   6 years
                         § 511; In re Monty,
                         2013 WL 2481531,
                         at *4 (Bankr. D. Vt.
                         June 10, 2013)
       Wisconsin         W.S.A. 402.725            6 years
       Iowa              IA Stat. § 614.1;         10 years
                         I.C.A. § 554.2725




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                EXHIBIT 2




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Firm Summary


A boutique law firm specializing in consumer protection and civil rights litigation, Richman Law
Group (RLG) was founded on the idea that the client is the essential component in maintaining a
successful practice. Composed of a tight-knit cadre of tenacious and diverse professionals, RLG
is dedicated to fighting for the rights of our clients, and through them, the needs of the community
at large.

We put forth all efforts in obtaining the greatest result for our clients, keeping their best interest in
mind from the initial point of contact to the resolution of their case. We at RLG commit ourselves
to treating every client as the top priority of the firm, while also working for the greater good.

RLG is also a Certified B Corporation. This means that the firm is obligated to consider the impact
of its business decisions on employees, clients, community, and the environment.

Practice Areas

                                            Class Actions

RLG has brought class actions on behalf of consumers in many jurisdictions over a wide array of
issues ranging from telecommunications to deceptive food labeling to other consumer product
advertising. Below is a selection of our class action cases:

Jones v. Monsanto Co., No. 19-cv-102 (W.D. Mo.); Blitz v. Monsanto Co., No. 3:17-cv-00473
(W.D. Wisconsin) (class action alleging deceptive and false advertising of Roundup weed-killer
products);

Tabler v. Panera LLC, No. 19-cv-1646 (N.D. Cal.) (class action alleging deceptive and false
advertising of “clean” food products);

In re Nissan North America, Inc. Litigation, No. 3:19-cv-00843 (M.D. Tenn.) (class action
alleging violations of the Magnuson-Moss Warranty Act over a braking defect);

Livingstone v. Colgate-Palmolive Co., No. 1:19-cv-04643 (S.D.N.Y.) (class action alleging
deceptive and false labeling of dish soap);

Livingstone v. Publix Super Markets, Inc., No. 19-015268 (Fla. 17th Cir. Ct.) (class action alleging
deception over the label “Mild & Gentile” despite the presence of allergens);




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Thompson v. Proctor & Gamble Co., No. 18-cv-60107 (S.D. Fla.) (class action alleging deceptive
and false labeling of cleaning products);

Yu v. Dr Pepper Snapple Group, Inc. et al, No. 5:18-cv-06664 (N.D. Cal.) (class action alleging
false and deceptive advertising over the “natural” label);

Parks v. Ainsworth Pet Nutrition, LLC, No. 18-cv-6936 (S.D.N.Y.) (class action alleging
deceptive and false advertising of “natural” dog food);

Axon v. Citrus World, Inc. et al, No. 1:18-cv-04162 (E.D.N.Y.) (class action alleging false and
deceptive advertising regarding orange juice labeling);

Mattero v. Costco Wholesale Corp., No. 3:18-cv-02871 (N.D. Cal.); Gonzalez v. Costco
Wholesale Corp., No. 1:16-cv-02590 (E.D.N.Y.) (class actions alleging deceptive labeling in
connection with laundry detergent and dish soap products);

Susan Tran v. Sioux Honey Association, Cooperative, No. 8:17-cv-00110 (C.D. Cal.) (class action
alleging deceptive and false labeling of “Pure” and “100% Pure” honey);

Gregorio et al v. The Clorox Company, No. 4:17-cv-03824 (N.D. Cal.) (class action alleging
“greenwashing” claims);

Tyman et al v. Pfizer, Inc., No. 1:16-cv-06941 (S.D.N.Y.) (class action alleging “100% Natural”
chapstick);

Gibson v. The Quaker Oats Company, No. 16-cv-04853 (E.D. Ill.) (class action alleging deceptive
and false labeling of oat products);

Wu v. Post Consumer Brands, LLC, and Post Holdings, Inc., No. 3:16-cv-03494 (N.D. Cal)
(class-actions alleging deceptive and false labeling of wheat cereal products);

Salamanca v. General Mills, Inc., No. 3:16-cv-04871 (N.D. Cal.); Nuez v. General Mills, Inc.,
No. 1:16-cv-04731 (E.D.N.Y.); Woloszyn v. General Mills, Inc., No. 0:16-cv-02869 (D. Minn.)
(class actions alleging deceptive and false labeling of oat products);

Hidalgo v. Johnson & Johnson Consumer Cos., No. 1:15-cv-05199 (S.D.N.Y) (class action
alleging deceptive labeling of baby care products);

Normand v. Nestle Purina Petcare Co., No. 6:15-cv-06141 (W.D.N.Y.) (class action alleging that
branded dog food is linked to the poisoning and death of thousands of dogs around the county);




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Paulino v. Conopco, Inc., No. 1:14-cv-05145 (E.D.N.Y.) (class action alleging that “Suave
Naturals” products, which use imagery of “natural ingredients” to convey a supposed benefit of
the product, contain harmful and synthetic chemicals in violation of New York and California
consumer protection laws);

Segedie v. The Hain Celestial Group, Inc., No. 7:14-cv-05029 (S.D.N.Y.) (class action alleging
that infant formula is falsely labeled “organic” because it contains ingredients that are not allowed
in “organic” products under federal law);

Barron v. Snyder’s-Lance, Inc., No. 0:13-cv-62496 (S.D. Fla.) (class action alleging that snack-
food products labeled “natural” contain genetically modified organisms and synthetic
ingredients);

Goldemberg v. Johnson & Johnson Consumer Companies, No. 7:13-cv-03073 (S.D.N.Y.) (class
action alleging false and deceptive advertising of personal care products);

Koehler v. Pepperidge Farm, Inc., No. 13-cv-02607 (D. Colo.) (class action alleging that snack
food labeled “natural” contains genetically modified organisms);

Rich v. Lowe’s Home Centers, Inc., No. 3:13-cv-30144 (D. Mass.) (class action alleging violation
of Massachusetts Unfair Trade Practices Act and unjust enrichment);

Brenner v. Williams-Sonoma, Inc., No. 1:13-cv-10931 (D. Mass.) (class action alleging that
defendant gathered customers’ ZIP codes during credit card transactions, which it used to build
databases for advertising and campaigns in violation of the Massachusetts Unfair Trade Act);

In re: Frito Lay North America, Inc. “All Natural” Litigation, No. 1:12-MD-02413 (E.D.N.Y.)
(class action alleging that snack food products labeled as “natural” contain genetically modified
organisms);

In re: Simply Orange Orange Juice Marketing & Sales Practices Litigation, No. 4:12-md-02361
(W.D. Mo.) (class action alleging that orange juice labeled as “100% pure” and “natural” contains
synthetic flavoring and is subject to a high degree of processing);

Serrano v. Cablevision Systems Corp., No. 09-CV-1056 (E.D.N.Y.) (class action alleging
violation of CFAA and of New York consumer protection law);

Hill v. Roll International Corp., No. CGC-09-487547 (San Francisco County Superior Court)
(class action alleging violation of California consumer protection laws);




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L’Ottavo Ristorante v. Ingomar Packing Co., No. 09-CV-01427 (E.D. Cal.) (class action alleging
violation of the Sherman Act);

Koh v. SC Johnson & Son, Inc., No. 5:09-cv-00927 (N.D. Cal.) (class action that introduced the
concept of “greenwashing” in violation of California adverting laws);

Chin v. RCN Corp., No. 08-CV-7349 RJS (S.D.N.Y.) (class action alleging violation of Virginia
consumer protection law);

Tan v. Comcast Corp., No. 08-CV-02735 (E.D. Pa.) (class action alleging violation of the federal
Computer Fraud and Abuse Act (CFAA));

All-Star Carts & Vehicles Inc. v. BFI Canada Income Fund, No. 08-CV-1816 (E.D.N.Y.) (class
action alleging violation of the Sherman Antitrust Act);

Fink v. Time Warner Cable, No. 08-CV-9628 (S.D.N.Y.) (class action alleging violation of New
York consumer protection laws);

S.K. v. General Nutrition Corp., No. 08-CV-9263 (S.D.N.Y.) (class action alleging violation of
New York consumer protection laws);

Petlack v. S.C. Johnson & Son, Inc., No. 08-CV-00820 (E.D. Wisconsin) (class action alleging
violation of Wisconsin consumer protection law).

                                Consumer Watchdog Actions

RLG served as counsel alongside various nonprofits to advocate on behalf of consumers regarding
health and environmental issues. Below is a selection of our consumer watchdog actions:

Voters For Animal Rights v. D'Artagnan, Inc. et al, No. 1:19-cv-06158 (S.D.N.Y.) (Nonprofit
action alleging deceptive marketing and advertising of foie gras products as humane despite
utilizing objectively inhumane practices);

Children’s Health Defense, v. Beech-Nut Nutrition Company, No. 2019 CA 004475 B (D.C. Super.
Ct.) (Nonprofit action alleging food product labeled as “natural” contained unnatural biocides);

Food & Water Watch, Inc. et al v. Tyson Foods, Inc., No. 1:19-cv-02811 (D.D.C.) (Nonprofit
action alleging deceptive marketing of poultry products);




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Food & Water Watch, Inc., et al v. Pilgrim’s Pride Corporation., No. 2019 CA 000730 B (D.C.
Super. Ct.) (Nonprofit action alleging deceptive and false advertising of chicken products labeled
as “natural” and “treated humanely”)

Toxin Free USA v. The J.M. Smucker Co., No. 2019 CA 003192 B (D.C. Super. Ct.) (Nonprofit
action alleging deceptive and false advertising of “natural” dog food);

Organic Consumers Ass’n v. Twinings North America, Inc., No. 2019 CA 004412 B (D.C. Super.
Ct.) (Nonprofit action alleging deceptive and false advertising of tea products);

Clean Label Project Foundation, et al., v. Panera, LLC, No. 2019 CA 001898 B (D.C. Super. Ct.)
(Nonprofit action alleging deceptive and false advertising regarding “clean” representations);

Organic Consumers Ass'n v. Ben & Jerry's Homemade, Inc., No. 2018 CA 004850 B (D.C. Super.
Ct.) (Nonprofit action alleging false and deceptive advertising due to “greenwashing”);

GMO Free USA, et al., v. Pret A Manger, LTD, et al., No. 2018 CA 006750 B (D.C. Super. Ct.)
(Nonprofit action alleging false and deceptive advertising of “natural” food products);

Beyond Pesticides, et al., v. Monsanto Co., No. 2017 CA 002468 B (D.C. Super. Ct.) (Nonprofit
action alleging deceptive and false advertising of Roundup weed-killer products);

Organic Consumers Ass’n v. R.C. Bigelow, Inc., No. 2017 CA 008375 B (D.C. Super. Ct.)
(Nonprofit action alleging deceptive and false advertising of tea products);

Organic Consumers Ass’n, v. Handsome Brook Farm, LLC, et al., No. 2016 CA 006223 B (D.C.
Super. Ct.) (Nonprofit action alleging deceptive and false advertising of eggs due to “humane-
washing”).

                                            Civil Rights

RLG fights for clients whose rights have been denied within New York State and beyond. Such
cases include false arrest, use of excessive force, and the right to due process. Below is a selection
of our civil rights cases:

Nigro v. City Of New York et al., No. 1:19-cv-02369 (S.D.N.Y.) (Individual action alleging false
arrest of a prominent journalist by the New York Police Department (NYPD));

Johnson v. City of New York et al., No. 1:15-cv-01621 (S.D.N.Y.) (Individual action alleging
excessive force and false imprisonment by the NYPD);

Khalifa et al., v. City of New York et al., No. 1:15-cv-06611 (E.D.N.Y.) (Individual action alleging
excessive force and false arrest by the NYPD);



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DaCosta v. City of New York et al., No. 1:15-cv-05174 (E.D.N.Y.) (Individual action alleging
malicious prosecution);

Soto-Muniz v. New Jersey Department of Corrections et al., No. 1:10-cv-01980 (E.D.N.Y.)
(Individual action alleging cruel and unusual punishment).


Our Attorneys

                                        Kim E. Richman
                                        Founding Partner
Kim Richman, who is based in the New York office of Richman Law Group, specializes in
consumer class actions and civil rights litigation. Mr. Richman is an accomplished trial attorney
with experience in both federal and state courts, where he has litigated dozens of trials to verdict.

Mr. Richman draws his class action expertise from previous work with a small think tank in San
Francisco and with a large class action firm. His experience ranges from protecting the privacy
rights of consumers and fair use rights of the public to prosecuting cases involving corporate fraud
and insider trading.

Mr. Richman has represented federal civil rights clients, individually and on a class-wide basis.
These matters have involved, for example, protecting the wrongfully accused and victims of
excessive force, advocating for factory laborers, and protecting the civil liberties of protestors
arrested at a political march.

Mr. Richman is a member of the state bar of New York and the federal bars of the Southern and
Eastern Districts of New York. Mr. Richman received his juris doctorate from Brooklyn Law
School in 2001 and his bachelor’s degree from the University of Massachusetts in 1996, from
where he graduated summa cum laude.

Currently, Mr. Richman serves as the New York State Chair for the National Association of
Consumer Advocates.

                                       P. Renée Wicklund
                                          Senior Counsel
Renée Wicklund is senior Of Counsel at the Richman Law Group. Previously, Ms. Wicklund spent
a decade with one of the nation’s largest and top-ranked law firms, practicing class action defense
and mass toxic tort litigation.

Ms. Wicklund is a 1998 graduate of The Yale Law School, where she was a Coker Fellow and
managing editor of The Yale Law Journal, and a 1994 graduate of Syracuse University, where she




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was Syracuse University Scholar. She also holds master’s degrees from The University of Chicago
and Sarah Lawrence College.

                                         Clark Binkley
                                       Managing Attorney
Clark Binkley is the managing attorney at Richman Law Group. Mr. Binkley’s prior legal
background includes civil rights, union-side labor law, and complex ERISA litigation. He is a
graduate of New York University School of Law and holds a bachelor’s degree in history from the
University of California – Berkeley. He is also the is the social outreach liaison for New York
State for the National Association of Consumer Advocates.

                                       Randal Wilhite
                                      Associate Attorney
Randal Wilhite is an associate with Richman Law Group. Before joining Richman Law Group,
Mr. Wilhite worked at CAMBA Legal Services and the New York Legal Assistance Group,
representing low-income individuals. He is a graduate of New York University School of Law and
Cornell University.

                                         Jay Shooster
                       Associate Attorney – Animal Welfare Legal Fellow
Jay Shooster is an attorney and the Factory Farming Legal Fellow at Richman Law Group. Mr.
Shooster’s work is focused on animal welfare litigation. He previously worked as a fellow with
Just Security, a project within the Center for Human Rights and Global Justice at New York
University School of Law. He is a graduate of New York University School of Law.

                                      Michael Mietlicki
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